     Case 8:20-cv-00468-JVS-KES Document 23 Filed 10/16/20 Page 1 of 1 Page ID #:110



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                           UNITED STATES DISTRICT COURT
 8
                         CENTRAL DISTRICT OF CALIFORNIA
 9
10    Gregory Heiertz,               )                 SACV 20-00468JVS(KESx)
                                     )
11                                   )                 ORDER OF DISMISSAL UPON
                   Plaintiff,        )
12                                   )                 SETTLEMENT OF CASE
            v.                       )
13                                   )
                                     )
14    Hartford Life and Accidence    )
      Insurance Co., et al,          )
15                                   )
                   Defendant(s).     )
16    ______________________________ )
17
18          The Court having been advised by the counsel for the parties that the above-
19    entitled action has been settled,
20          IT IS ORDERED that this action be and is hereby dismissed in its entirety
21    without prejudice to the right, upon good cause being shown within 60 days, to reopen
22    the action if settlement is not consummated.
23
24    DATED: 10/16/20
25                                                   ___________________________
26                                                      James V. Selna
                                                     United States District Judge
27
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